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                                                         September 11, 2020



BY ECF AND HAND DELIVERY

Honorable Lewis A. Kaplan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

             Re:        In re Customs and Tax Administration of the Kingdom of Denmark
                        (Skatteforvaltningen) Tax Refund Scheme Litigation, 18-md-2865 (LAK)

Dear Judge Kaplan:

         We write on behalf of Plaintiff Skatteforvaltningen (“SKAT”) respectfully to ask the
Court to enter the proposed Revised Amended Stipulated Protective Order Governing
Confidentiality of Discovery Materials (the “Revised Amended Protective Order”) annexed as
Exhibit 1 to the Declaration of Neil J. Oxford, dated September 11, 2020 (the “Oxford
Declaration”). 1 The Revised Amended Protective Order applies to all of the related actions
consolidated as part of In re Customs and Tax Administration of the Kingdom of Denmark
(SKAT) Tax Refund Litigation, Case No. 18-md-2865 (LAK) (collectively the “MDL”). Counsel
for the defendants have consented to the entry of the Revised Amended Protective Order except
for the counsel to the defendants in three of the consolidated actions (“Hanamirian
Defendants”), 2 who has stated that he believes that the revisions contained in the Revised
Amended Protective Order are not necessary for the MDL proceedings and he must treat the
litigation as relating to the United States and foreign criminal matters.



1.   On March 5, 2020, the Court entered the Amended Stipulated Protective Order Governing Confidential of
     Discovery Materials (No. 18-md-2865-LAK, ECF No. 287) (the “Amended Protective Order”) in these actions.
     A blackline reflecting the parties’ proposed amendments to the Amended Protective Order is annexed as Exhibit
     2 to the Oxford Declaration.

2.   The Hanamirian Defendants are Acorn Capital Corporation Employee Profit Sharing Plan, Acorn Capital
     Strategies LLC Employee Pension Profit Sharing Plan & Trust, Cambridge Way LLC 401K Profit Sharing Plan,
     Christopher Nowell, Gregory Summers, Shreepal Shah, and Tveter LLC Pension Plan.
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         One of the guiding principles of the Amended Protective Order was to allow parties to
 use Discovery Materials 3 obtained in the MDL in the related litigations that have been
 commenced by SKAT in jurisdictions outside the United States, while still ensuring that the
 Discovery Materials would receive protections substantially similar to those provided by the
 Amended Protective Order. The parties believed that this approach would avoid the burden,
 costs, and delay that would arise if parties were required to conduct substantially duplicative
 discovery across multiple jurisdictions.

         As the foreign litigations have progressed, however, it has become apparent to the
 parties that the Amended Protective Order would be more effective if it contained additional
 specification of the exact process for, and limitations on, using Discovery Materials in Foreign
 Actions. Additionally, a prerequisite to receipt of certain Discovery Materials under the
 Amended Protective Order was, as is customary, an agreement to be bound by the terms of the
 Amended Protective Order. Certain defendants in the related proceedings between SKAT and
 multiple defendants in the Commercial Court in London (under the consolidated case numbers
 CL-2018-000297, CL-2018-000404; CL-2018-000590; CL-2019-000487) (the “English
 Proceedings”) raised concerns that this approach required submission to the jurisdiction of this
 Court, and refused to receive documents on this basis, effectively preventing SKAT from using
 documents produced in the MDL in the English Proceedings.

         To address these issues, counsel for SKAT had consulted extensively with defendants in
 the MDL, and has now agreed the proposed Revised Amended Protective Order, which contains
 a number of revisions intend to clarify the process and procedures for the use of Discovery
 Materials, specifically Confidential and Highly Confidential Materials, in Foreign Actions.
 Specifically, the Revised Amended Protective Order clarifies that Discovery Material may be
 shared in a Foreign Action “so long as the Discovery Material is subject to an agreement,
 enforceable by order of a court of competent jurisdiction for the Foreign Action that provides
 protections regarding the use and confidentiality of Discovery Material that are substantially
 similar to those contained in this [Revised Amended] Protective Order.” (See Revised Amended
 Protective Order at ¶ 21.)

         An illustrative example of such an agreement, the UK Confidentiality Club Agreement
 (with an attached proposed UK Confidentiality Order), is attached as Exhibit B to the Revised
 Amended Protective Order. The UK Confidentiality Club Agreement and UK Confidentiality
 Order have been the subject of extensive consultation by SKAT with the defendants in the
 English Proceedings. The UK Confidentiality Club Agreement and UK Confidentiality Order
 contain substantively similar protections as those provided by the Revised Amended Protective
 Order. Namely, they contain limitations on the individuals and entities in the English
 Proceedings that can receive Confidential and Highly Confidential Information that are
 substantially similar to those contained in Revised Amended Protective Order. Further, the UK
 Confidentiality Club Agreement and UK Confidentiality Order impose confidentiality
 obligations on individuals and entities receiving Discovery Materials that are also substantially
 similar to those contained in Revised Amended Protective Order. The UK Confidentiality Club


3.   Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Revised
     Amended Stipulated Protective Order.
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Agreement and UK Confidentiality Order also avoid the need to require receiving parties to
submit to the jurisdiction of this Court, which addresses concerns raised by certain defendants
in the English Proceedings. Instead, the disclosure and use of Confidential and Highly
Confidential Materials in the English Proceedings will be governed by the terms of the UK
Confidentiality Club Agreement and UK Confidentiality Order, subject to the jurisdiction of the
English Court, which provides disclosing parties in the MDL with comparable protection as the
Revised Amended Protective Order. SKAT will apply for approval of the UK Confidentiality
Order in the English Proceedings as soon as this Court enters the Revised Amended Protective
Order, and SKAT believes it is likely that the English Court will approve the UK
Confidentiality Order (or a closely analogous order).

        As to the concerns of the Hanimiran Defendants that Discovery Materials could be used
in foreign criminal matters, the revisions contained in the Revised Amended Protective Order
address the process for the use of Discovery Materials in a “Foreign Action,” which is defined
as an “action or proceedings commenced by Plaintiff SKAT in a foreign jurisdiction…” (See
Revised Amended Protective Order at ¶ 10(a) n. 2). The definition of Foreign Action
would therefore categorically exclude a criminal action commenced in a foreign
jurisdiction. Accordingly, the revisions contains in the Revised Amended Protective Order do
not address or implicate the use of Discovery Materials in a foreign criminal proceeding. To the
extent that a foreign governmental organization subpoenaed the recipient of Discovery
Materials, the current version of the protective order already sets forth the procedures applicable
to a party when it is the subject of a subpoena request.

        Accordingly, SKAT respectfully requests that the Court enter the proposed order annexed
hereto, and to the extent deemed necessary, overrule the objection of the Hanamirian Defendants.
Thank you for your consideration.

                                             Respectfully submitted,



                                             /s/ Neil J. Oxford
                                             Neil J. Oxford

Enclosures

cc:   All counsel of record (via ECF)
